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                  UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF COLUMBIA



C ATHLEEN C OLVIN et al.,             Civil No. 1:16-cv-01423 (ABJ)

                 Plaintiffs,

       v.

S YRIAN ARAB R EPUBLIC ,

                 Defendant.




                    MEMORANDUM OF LAW IN SUPPORT OF
                 PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT
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   I.      INTRODUCTION

           A. STATEMENT OF THE CASE

        On February 22, 2012, Marie Colvin, an American reporter hailed by many of her peers

as the greatest war correspondent of her generation, was assassinated by government forces of

the Syrian Arab Republic (“Syria”) as she reported on the suffering of civilians in Baba Amr, a

besieged neighborhood in the Syrian city of Homs. Marie was killed in a targeted rocket attack

on the Baba Amr Media Center (“Media Center”), a makeshift broadcast studio run by local

media activists in a secret residential location. The rocket attack also killed acclaimed French

photographer Rémi Ochlik and injured British photographer Paul Conroy, Syrian translator Wael

al-Omar, and French journalist Edith Bouvier.

        The evidence presented by Plaintiffs establishes that Marie was tracked down and

targeted by agents of the regime of Syrian President Bashar al-Assad (“Assad Regime” or

“Regime”) as part of a strategy to surveil, capture, and even kill journalists to prevent reporting

on the Regime’s crackdown on political opposition after the “Arab Spring” protests in 2011.

        This deliberate, malicious conduct by the Regime was undertaken in blatant violation of

established rules of international law, and constitutes an extrajudicial killing. Under section

1605A of the Foreign Sovereign Immunities Act (“FSIA”), Plaintiffs are entitled to an award of

compensatory and punitive damages. See 28 U.S.C. § 1605A (“Section 1605A”). While an

award of damages will never fully redress the harm caused by the Regime’s outrageous conduct,

it is Congress’ clear intent that an award be issued to punish and deter state sponsors of terrorism

in cases such as this.

           B. MARIE COLVIN

        Marie Colvin was a legend among war reporters. Born in New York on January 12,

1956, she became renowned for her victim-centered dispatches from the war zones of the world.


                                                 1
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See Declaration of Cathleen Colvin (“C. Colvin Decl.”) ¶¶ 5, 18. Marie spent over 25 years

writing for the British newspaper The Sunday Times. Declaration of John Witherow (“Witherow

Decl.”) ¶ 8. Throughout her career, Marie was dedicated to telling the stories of war’s victims.

See C. Colvin Decl. ¶ 26. She believed that reporting could curtail the excesses of brutal regimes

and make the international community take notice of atrocities. See id.

          Marie’s career as a war correspondent brought her in its early years to the 1987 siege of

Basra in Iraq and ended with the February 2012 siege of Baba Amr in Syria. See Witherow

Decl. ¶ 22; C. Colvin Decl. ¶¶ 16-25. Those sieges bookended a career that brought her to East

Timor, where her reporting is credited with having secured the evacuation of over 1,000 refugees

abandoned at a besieged United Nations (“U.N.”) compound. C. Colvin Decl. ¶ 19. Her work

later took her to Sri Lanka, where she was ambushed by military forces after interviewing Tamil

Tiger leaders. Witherow Decl. ¶ 24; C. Colvin Decl. ¶ 21. A grenade blinded her in one eye,

leaving Marie with her signature eye-patch. C. Colvin Decl. ¶¶ 21–22. But she refused to “hang

up her flak jacket.” Witherow Decl. ¶ 24. She wrote after the incident: “I did not set out to be a

war correspondent. It has always seemed to me that what I write about is humanity in extremis,

pushed to the unendurable, and that it is important to tell people what really happens in

wars . . . .” Id.

             C. THE PARTIES

                     i. Plaintiffs

          Plaintiff Cathleen Colvin is the youngest sister of Marie Colvin and a U.S. citizen. C.

Colvin Decl. ¶ 2. 2 She brings this action on her own behalf and on behalf of her minor child

L.A.C., 3 who is a beneficiary of the estate of Marie Colvin under Marie’s will. Id. ¶ 3.


2
    Marie Colvin was a U.S. citizen at the time of her death as well. C. Colvin Decl. ¶ 5.


                                                   2
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          Plaintiffs Justine and Christopher Araya-Colvin are the niece and nephew of Marie

Colvin; both are U.S. citizens. Declaration of Justine Araya-Colvin (“J. Araya-Colvin Decl.”) ¶¶

1-2; Declaration of Christopher Araya-Colvin (“C. Araya-Colvin Decl.”) ¶ 1. Each brings this

action as a beneficiary of the estate of Marie Colvin under Marie’s will.

                   ii. Defendant

          Defendant Syria is a dictatorship under the control of President Bashar al-Assad,

Regional Secretary of the Socialist Arab Ba’ath Party (“Ba’ath Party”) and General Commander

of the Army and Armed Forces. Expert Report of Ewan Brown (“Brown Rep.”) ¶¶ 39–40. The

United States has designated Syria a state sponsor of terrorism since December 29, 1979. See

Revision of Foreign Policy Controls on Exports to Syria, Iraq, Libya, and the People’s

Democratic Republic of Yemen, 45 Fed. Reg. 33956 (May 21, 1980); Expert Report of Robert S.

Ford, Former U.S. Ambassador to Syria (“Ford Rep.”) ¶ 15.

    II.      STATEMENT OF FACTS

             A. BACKGROUND

          Syria has been ruled by the Assad Regime since 1970, when a military coup brought

Hafez al-Assad to power. Ford Rep. ¶¶ 11–12. Hafez was succeeded by his son and current

President, Bashar al-Assad. Id. ¶ 16. The Assad Regime dominates Syria through its control of

the security agencies (the ‘mukhabarat’), the military, and paramilitary forces (‘shabiha’). See

Ford Rep. ¶¶ 17–26; Brown Rep. ¶¶ 37–137. These institutions have allowed the Regime to

quash opposition and instrumentalize state terror through torture, assassinations, and sponsorship

of terrorism – a record of violence stretching back decades. See Ford Rep. ¶¶ 14–18.


3
  As noted above, Plaintiffs have moved that the Court substitute Christopher as a party of
interest in this matter, in lieu of his interests being represented by Cathleen Colvin as parent and
next friend while he was still a minor. See supra note 1.


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                   i. The Assad Regime’s Response to the Arab Spring and Syria’s Descent
                      into Civil War

       In 2011, a wave of protests known as the “Arab Spring” swept the Middle East and North

Africa, toppling in their wake dictators in Tunisia and Egypt. See Ford Rep. ¶¶ 28–29. When

the Arab Spring reached Syria, it spurred the rise of a largely non-violent political opposition

movement and, later, an armed insurrection. Id. ¶ 28.

       The Syrian uprising began in the southern city of Dera’a on March 18, 2011, when

thousands marched against the arrest and alleged torture of 15 young boys who had painted

anti-Assad graffiti. Id. ¶ 30. Demonstrations calling for reform, an end to corruption, and the

release of political prisoners soon spread across Syria. Id. ¶ 31; Brown Rep. ¶ 26.

       Rather than accept reform, the Assad Regime mobilized its entire security, military, and

political apparatus to neutralize the opposition, media, and independent civil society through

force. See Declaration of Abdel Majid Mohammed Abel Majid Barakat (“Barakat Decl.”) ¶¶ 10,

32, 40; Ford Rep. ¶¶ 37–38. To coordinate this effort, the Regime set up the Central Crisis

Management Cell (“CCMC”) in the spring of 2011. Brown Rep. ¶ 45. The CCMC was a

national security body composed of the most senior political, military, and intelligence officials

in the country. Barakat Decl. ¶¶ 10–11; Brown Rep. ¶ 46. As explained by former CCMC

employee Abdelmajid Barakat and confirmed by military analyst Ewan Brown, the CCMC

received intelligence reports from across Syria and coordinated the Regime’s armed crackdown

on the uprising. Barakat Decl. ¶ 11; Brown Rep. ¶¶ 44, 48–52. Permanent members of the

CCMC included senior-level members of the Syrian government: the Minister and Deputy

Minister of Defense, the Minister of Interior, the Head of the National Security Bureau (the

central office coordinating all intelligence agencies), and the heads of Syria’s four intelligence

agencies. Brown Rep. ¶¶ 46, 53. Other senior officials of the Syrian government attended



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CCMC meetings, including President Assad’s brother, Maher al-Assad, and representatives from

President Assad’s office. See Barakat Decl. ¶¶ 12–13.           CCMC decisions were personally

reviewed and approved by President Assad. Id. ¶ 21.

        Through the CCMC, the Assad Regime engaged in the widespread and systematic

suppression of dissent. See Ford Rep. ¶¶ 37–38; Brown Rep. ¶¶ 8–9. Government forces opened

fire on demonstrations and detained thousands. Ford Rep. ¶ 39; Brown Rep. ¶ 9. Robert Ford,

former U.S. Ambassador to Syria, who was posted in Damascus at the time, notes that U.N. and

American efforts to estimate casualties yielded “horrific statistics”: an estimated 5,000 civilians

were killed in 2011, while some 20,000 people were arbitrarily detained, with many of them

subjected to torture. Ford Rep. ¶ 39. In 2012 alone, the U.S. Department of State estimated that

the Regime kidnapped 6,000 women, raped or mutilated at least 4,000 women and girls, and

selected children for targeting or torture because their relatives were suspected activists or rebels.

Id. ¶ 40.

        The Regime’s crackdown ultimately prompted the formation of an armed opposition.

Members of the Syrian Army began to defect and, in the summer of 2011, formed rebel groups

that eventually coalesced into the Free Syrian Army (“FSA”). Id. ¶ 36. As the violence

escalated, the CCMC militarized the Regime’s strategy, sending Syria toward a full-scale armed

conflict by the end of 2011. See Brown Rep. ¶¶ 181–85; Expert Report of David Kaye, U.N.

Special Rapporteur on the Promotion and Protection of the Right to Freedom of Opinion and

Expression (“Kaye Rep.”) ¶ 32 n.83.

                   ii. The Regime’s Media Crackdown

        Independent media became a priority target as the Regime escalated its crackdown and

sought to impose a media blackout. The initial suppression of traditional forms of journalism

spurred Syrian activists to develop novel ways of resisting censorship. As a result, the months


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following the Arab Spring saw a rise in the number of so-called “citizen journalists”

disseminating news through online blogs and social media networks. See Kaye Rep. ¶ 12;

Declaration of Adnan al-Hamid a.k.a. Khaled Abu Salah (“al-Hamid Decl.”) ¶¶ 17-19. 4

         Baba Amr was at the heart of that independent media movement. In the summer of 2011,

a local activist known as Khaled Abu Salah and a group of citizen journalists formed the Baba

Amr Media Center. Al-Hamid Decl. ¶ 18. They used the internet, mobile phones, and satellite

devices to document protests, circulate footage of government abuses, and communicate with

foreign journalists. Id. ¶¶ 17–20; Declaration of John Doe (“Doe Decl.”) ¶¶ 7–10. 5 Converting a

residential apartment in Baba Amr into a makeshift broadcast studio, they used a clandestine

satellite dish, anonymizing software, and proxy internet servers to mask their location from the

Regime. Al-Hamid Decl. ¶¶ 19–20; Doe Decl. ¶ 8; Declaration of Wael Fayez al-Omar (“al-

Omar Decl.”) Exs. A1–A3 (marking the Media Center’s location on satellite images). The

Media Center activists also began giving interviews to foreign news agencies, including The

Washington Post, The New York Times, BBC, CNN, and Al-Jazeera. Doe Decl. ¶ 9. Those

reporting from the Media Center were non-combatant civilians who operated independently from

the armed rebels. Al-Hamid Decl. ¶ 23; Doe Decl. ¶ 13–14. While rebels were occasionally

sources of information for the Media Center, the activists themselves were not part of the armed

opposition and did not participate in the hostilities in Baba Amr. Al-Hamid Decl. ¶ 23; Doe

Decl. ¶ 13–14.

         Nevertheless, President Assad’s inner-circle “considered media activists one of the

greatest threats to the [R]egime.” Barakat Decl. ¶ 30; see also Declaration of Abdelmalek Nouar

4
    “Khaled Abu Salah” is the popular pseudonym of Adnan al-Hamid. See al-Hamid Decl. ¶ 2.
5
    Examples of video footage shot in Baba Amr and published online by the Media Center are
available as Doe Exs. A–C and al-Hamid Exs. B, C.


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(“Nouar Decl.”) ¶¶ 28, 31-32. The Regime subjected independent sources of news to a range of

repressive measures, from formal censorship to arrest – and even armed attack. Ford Rep. ¶ 44;

Barakat Decl. ¶¶ 29–36.

       The Regime’s anti-media vitriol was promoted by President Assad himself. In a speech

in August 2011, President Assad accused the media of engaging in “psychological warfare aimed

at creating a state of internal chaos and influencing the spirits of Syrians.” Brown Ex. C-67 at

002. Regime officials echoed this rhetoric in state-owned media. Syria, they claimed, was the

target of a “media-led conspiracy” and an “unprecedented media war . . . using all technologies

of communications, virtual world and satellites.” Kaye Rep. ¶ 18; Kaye Exs. 1, 2.

       These were not mere words. The Regime enforced draconian anti-free-speech laws,

which resulted in the arrests of numerous dissidents and media activists. Kaye Rep. ¶¶ 20–22;

Ford Rep. ¶¶ 63–65. It limited foreign correspondents’ access to the country, denying most visas

and curtailing physical entry to areas of interest. Kaye Rep. ¶¶ 20–22; Ford Rep. ¶¶ 63–65. And

these restrictions were further backed by a policy of censorship through terror formulated at the

highest levels of the Regime. See Kaye Rep. ¶¶ 25–29; Ford Rep. ¶¶ 63–65.

       On August 5, 2011, the CCMC issued orders to Regime forces throughout the country to

launch “joint security-military campaigns” against “those who tarnish the image of Syria in

foreign media and international organizations,” and other wanted persons. Brown Rep. ¶¶ 173–

177; Brown Ex. C-40 at 094. These instructions were disseminated – with deadly effect –

through the military and security chains of command. See Brown Ex. C-40 at 093. As the U.N.

Special Rapporteur on Freedom of Expression David Kaye concludes: “the Syrian government

instituted a campaign to intimidate, arbitrarily detain, torture, forcibly disappear, and kill




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journalists and any other persons working to document the Regime’s atrocities.” Kaye Rep. ¶

25. 6

        For example, on August 25, 2011, Syrian security forces tortured Ali Ferzat, a renowned

political cartoonist, in apparent retaliation for satirizing President Assad. Kaye Rep. ¶ 26. On

November 20, 2011, the mutilated body of cameraman Ferzat Jarban was found one day after his

arrest for filming protests. Id. On February 16, 2012, security forces raided the Syrian Center

for Media and Freedom of Expression, subjecting human rights lawyer Mazen Darwish,

journalist Mansour al-Omari, and other staff members to torture and detention. Id.

        This escalating campaign of violence against the media ultimately led to the killing of

Marie Colvin during the siege of Baba Amr in February 2012.

                  iii. The Battle of Homs and Siege of Baba Amr

        By the end of 2011, Homs, Syria’s third-largest city, had become the center of the

Regime’s crackdown on the opposition. Ford Rep. ¶ 41. One neighborhood was a particular

flash point: Baba Amr, a working-class residential district in southwestern Homs. Declaration of

“Ulysses” (“Ulysses Decl.”) ¶ 25. In the fall of 2011, a small group of FSA-aligned rebels,

carrying only small arms, established a defensive perimeter around the neighborhood in order to

protect civilians from the Regime’s attacks. Ulysses Decl. ¶ 26–28; al-Hamid Decl. ¶ 24; Doe

Decl. ¶ 12. From December 2011 until the end of February 2012, Syrian military and security

forces and shabiha encircled Baba Amr with checkpoints, tanks, and artillery, laying siege to the



6
  The Special Rapporteur’s observation is borne out by internal Regime documents from 2011
and 2012, which confirm that Syrian security forces arrested those “filming protests in order to
send it to agenda-driven [television] channels,” Brown Exs. C-74, C-75 at 010, interrogated
detainees on their “contacts with foreign . . . media bodies,” Brown Ex. C-72 at 009, and
wiretapped calls between activists and foreign reporters, forwarding intercepts to army units for
them to “take the necessary measures.” Brown Ex. C-102 at 002.


                                               8
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neighborhood. Ulysses Decl. ¶ 27. Power, water, telecommunications, and access to food were

regularly cut. Id.

       Two Regime officials oversaw the siege of Baba Amr: (i) Imad 7 Ali Ayoub, often called

the “Homs Military and Security Chief” (who was also Deputy Chief of Staff of the Syrian

Army); and (ii) Ayoub’s deputy, Major General Rafiq Shahadah, often called the “Security Chief

in the Homs Governorate and Assistant to the Military Commander” (a senior Military

Intelligence officer). Brown Rep. ¶¶ 81, 210–212. 8 These were ad hoc positions created by the

CCMC in the fall of 2011 for the purpose of coordinating joint military, 9 intelligence, 10 and

shabiha operations against the opposition. Ulysses Decl. ¶¶ 9 n.3, 18 n.5; Brown Rep. ¶¶ 210–

11, 219. These officials led military and security operations in Homs, see, e.g., Brown Rep. ¶¶

219–21; Brown Ex. C-112 at 004, and appear to have done so through what was informally

called the “Homs Military-Security Committee.” See Ulysses Decl. ¶ 18. 11 They formed the


7
 The term “Imad” is a senior military rank in the Syrian Army, superior to a Major General.
Brown Rep. ¶ 46 n.25.
8
  Evidence suggests that Homs Military and Security Chief, Ali Ayoub, exercised formal
command over joint operations in Homs, giving final written approval of orders (possibly from
an office in Damascus), while his assistant, Security Chief Rafiq Shahadah, played a more
operational role on the ground in Homs. Compare Ulysses Decl. ¶ 18 (noting that Ayoub had
returned to Damascus when Shahadah started) with Brown Rep. ¶¶ 229–34 (discussing Security
Chief Shahadah’s apparent authority to issue instructions to military and security forces, and
noting possibility that “Shahadah was fulfilling an ‘Assistant’ role when the Homs Military and
Security Chief was physically away from Homs”).
9
  The military units under their command included elements of the 11th and 18th Tank Divisions,
the 41st and 554th Special Forces Regiments, Brown Rep. ¶¶ 93, 216, and the Republican Guard,
Ulysses Ex. D.
10
  The intelligence forces under their command included Military Intelligence Branch 261 and
General Intelligence Branch 318. See Ulysses Decl. ¶ 28; Ulysses Ex. C; Brown Rep. ¶ 241.
11
  Although Regime documents uncovered to date do not explicitly reference a “Homs Military-
Security Committee,” there are clear indications that this nomenclature was used. For example,
Security Chief Shahadah used a “committee operations office” to inform and instruct artillery
units. See Brown Ex. C-93 at 004. And in the Idleb governorate, the position equivalent to

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central hub linking intelligence and military operations in Homs, under a chain of command that

ran to the CCMC and ultimately to President Bashar al-Assad. See Brown Rep. ¶¶ 116–119,

216, 219; Ulysses Exs. C, D.

        From February 4 to 28, 2012, the Syrian army subjected Baba Amr to sniper fire and

saturated the area with shells from multiple rocket launcher systems, tanks, and mortars. See

Ulysses Decl. ¶ 29; al-Hamid Decl. ¶¶ 30–31; Doe Decl. ¶ 16; Brown Rep. ¶¶ 261–66. Rather

than concentrate fire at the front lines surrounding the neighborhood, the artillery blanketed the

soft, civilian core. Doe Decl. ¶ 16. Local activists compared it to “raking a comb across the

neighborhood.” Al-Hamid Decl. ¶ 30. The Regime flew aerial surveillance drones over Baba

Amr, acquiring targets and monitoring the destruction of the neighborhood. See Ulysses Decl.

¶ 29.

        The battle for Baba Amr drew the attention of journalists from around the world, who

sought to report from inside the siege lines. Ulysses Decl. ¶ 25; al-Hamid Decl. ¶ 25. But in

addition to the usual dangers that attend war reporting, these journalists – and the Syrians who

helped them – faced a new distinct threat: deliberate targeting by the Assad Regime.

           B. THE EXTRAJUDICIAL KILLING OF MARIE COLVIN

                   i. The Regime’s Targeting of the Baba Amr Media Center

        In late 2011 and early 2012, the Assad Regime received tips from intelligence sources

that foreign journalists were traveling to Syria through Lebanon and reporting from the Baba

Amr Media Center. Ulysses Decl. ¶¶ 35–37. Acting on this intelligence, senior officials of the

Assad Regime formed a plan to intercept the journalists’ communications, track their movement



Ayoub’s was called the “Head of the Security and Military Committee.” Brown Ex. C-126 at
025. Ulysses confirms that officers in Homs referred to this ad hoc body as a “Committee.”
Ulysses Decl. ¶ 18.


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to locate the Media Center, and capture or kill the journalists. Id. ¶¶ 35-40, 50. This plan

culminated in the killing of Marie Colvin and Rémi Ochlik on February 22, 2012.

          The Regime’s operations against the Media Center began in or around late December

2011, when Major General Ali Mamluk, Head of the General Intelligence Directorate and

CCMC Member, received intelligence reports from sources in Lebanon that foreign journalists

were arriving at the Beirut international airport and being smuggled across the border into Syria.

Ulysses Decl. ¶ 35. Mamluk circulated a memorandum with instructions that all intelligence

branches in Homs were to confirm the intelligence reports, capture the journalists, and “take all

necessary measures.” Id.; see also Nouar Decl. ¶ 31.

          Under the direction of the Homs Security Chief Major General Rafiq Shahadah, the

intelligence branches in Homs launched a joint effort to surveil the journalists and prevent their

reporting. See Ulysses Decl. ¶ 38. Over the following weeks, Mamluk continued to receive

reports that foreign journalists were entering Homs, including teams from CNN and the BBC.

Id. ¶ 37. Regime officials were regularly monitoring news broadcasts coming out of Homs, and

were fully aware that reporters were succeeding in getting in and out of Baba Amr. Id. In fact,

the CCMC had established a “Media Monitoring Cell” for the purpose of monitoring the media

and “[d]eveloping appropriate measures and responses.” Brown Rep. ¶ 177; Brown Ex. C-187,

at 025.

          Throughout January and February 2012, the Regime used two streams of intelligence to

hunt for the Media Center and the visiting foreign journalists. The first were intercepts: security

forces regularly operated a mobile satellite interception device, which circled around Baba Amr

attempting to wiretap broadcast signals and geo-locate their origins. Ulysses Decl. ¶ 39. On

multiple occasions, Homs Security Chief Shahadah relayed the coordinates of intercepts to




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artillery units so that they could shell the identified locations. Id. ¶ 50. The intelligence,

however, proved too imprecise and the attacks repeatedly failed. Id.

       Shahadah also developed a second stream of intelligence: informants. Id. ¶ 40. For this

task, Shahadah relied on Khaled al-Fares, a local narco-trafficker who worked as an agent of the

Regime to finance the local shabiha paramilitaries and recruit informants. Id. ¶¶ 20–22, 40. Al-

Fares had a direct connection to Maher al-Assad, the President’s brother and de facto

commander of the elite Fourth Division of the Syrian Army,                         called the “boss.”

Id. ¶¶ 12 n.4,                                               about the location of the Media Center

and the presence of foreign journalists. Id. ¶ 40.

       In addition, in January 2012, senior Regime officials – including CCMC members – tried

to extract the location of the Baba Amr Media Center from Arab League observers. Abdelmalek

Nouar, a former Arab League observer, recalls a discussion on or around January 5, 2012 in

which Syria’s Deputy Minister of Defense Assef Shawkat asked Nouar to reveal the location of

the Media Center, which Nouar had previously visited. Nouar Decl. ¶ 27.

       During this discussion, Shawkat characterized The New York Times and The Washington

Post as “terrorist newspapers” and alleged that foreign media, such as CNN and Al-Jazeera, were

collaborating with terrorists. Id. ¶ 28. Shawkat asked if Nouar had seen foreign journalists

present in Baba Amr, telling him: “In reality, they are not journalists. They are agents of the

Israeli and American intelligence services who are trying to infiltrate Syria.” Id. ¶ 30. Shawkat

told Nouar: “Each journalist who enters into Baba Amr without state authorization—for us these

are terrorists. They are targets for our military services and our security forces.” Id. ¶ 31.

                   ii. Marie Colvin’s Arrival in Baba Amr

       Marie Colvin and British photographer Paul Conroy traveled to Syria on assignment for

The Sunday Times around February 13, 2012. Declaration of Paul Conroy (“Conroy Decl.”)


                                                 12
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¶¶ 5–6. They set out on a smuggler’s route across the Lebanese-Syrian border and entered the

Homs countryside. Id. ¶ 9. On or around February 15, they snuck into Homs through an

underground water tunnel, accompanied by a Syrian activist named Wael al-Omar, who worked

as their interpreter. Id. ¶ 11; al-Omar Decl. ¶ 15.

        They eventually arrived under cover of night at the Media Center, which was located on

the ground floor of a three-story apartment-building tucked away on a small street in southern

Baba Amr. Conroy Decl. ¶ 13; al-Omar Decl. ¶ 16–17. The Media Center hosted foreign

journalists, offering sleeping quarters and a satellite internet connection. See Conroy Decl. ¶ 13;

Doe Decl. ¶ 19. When Marie, Paul, and Wael arrived, a team from CNN was already there. Doe

Decl. ¶ 20.

        Marie’s team spent the night at the Media Center and was woken early the next morning

by the sound of shelling. Conroy Decl. ¶ 14. Throughout the day, missiles and mortar fire swept

through the neighborhood, landing indiscriminately on residential streets. Id. Wael recognized

the pattern of fire from his prior, mandatory, military service as a forward artillery observer in

Syria’s 14th Special Forces Division. Al-Omar Decl. ¶¶ 5, 7, 17. His trainers called it “Russian

style”: the gunners would scorch an entire area with artillery, moving in waves without directing

fire at any particular target. Id. ¶ 7. 12

        Despite the shelling, Marie managed to interview locals, touring an improvised field

hospital and a cellar called the “widow’s basement” where residents, mainly women and

children, sought shelter from the Regime’s bombardment. Conroy Decl. ¶¶ 15–17; Conroy Exs.

A-1, A-2, B, C-1, C-2.


12
    Syrian government documents confirm that artillery units in 2012 had engaged in
indiscriminate fire “without observation” to such an extent that they were depleting ammunition
reserves. Brown Rep. ¶¶ 269–271; Brown Ex. C-139 at 005.


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       Later that evening, Marie heard rumors that a Regime ground invasion was imminent, so

she and the other journalists fled Baba Amr through the same water tunnel in which they had

arrived. Conroy Decl. ¶ 18. From the outskirts of Homs, Marie was able to dictate her story to

The Sunday Times via satellite phone. Id. ¶ 19. On February 19, 2012, The Sunday Times

published Marie’s account of the siege: “Crammed amid makeshift beds and scattered

belongings are frightened women and children trapped in the horror of Homs, the Syrian city

shaken by two weeks of relentless bombardment.” Witherow Ex. A-2. But Marie wanted to

return to Baba Amr. Conroy Decl. ¶ 19. “This was today’s Sarajevo,” she told Paul. She

refused to “cover Sarajevo from the suburbs.” Id. When Wael warned Marie that the Regime

was certain to retake the neighborhood, she responded, “I am not worth more than the children

dying there.” Al-Omar Decl. ¶ 19.

       On the night of February 20, Marie, Paul, and Wael made their way back to the Media

Center. Conroy Decl. ¶ 19. The next morning, they realized that the shelling had reached a new

level of intensity. Paul, a former gunner and observer in the British Royal Artillery, recognized

the sound of rockets, mortars, and howitzer cannon. Id. ¶ 20. He heard the buzzing of drones

circling overhead. Id. They determined that conditions were too dire for them to leave the

Media Center and tour the neighborhood. Id. ¶ 21. Instead, they stayed at the Media Center,

gathering accounts, photos, and video footage. Id.

                 iii. The Eve of the Attack: February 21, 2012

       Marie decided that news of what they were seeing could not wait three days until Friday

– filing day at The Sunday Times. Conroy Decl. ¶ 21. On the evening of February 21 (Tuesday

night), Marie gave live interviews via the Media Center’s satellite link to the BBC, Channel 4

(U.K.), and CNN. Id. In Marie’s last broadcasts, she told the BBC that Regime forces were

“shelling with impunity and a merciless disregard for the civilians who simply cannot escape.”


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Fares brought her to a special conference room at the Military Technical Affairs Faculty that was

used to plan military operations. Id. ¶¶ 23, 56. 13

        There, during the early morning hours of February 22, 2012, Homs Security Chief Rafiq

Shahadah convened a meeting to debrief the informant. Id. ¶ 56. A number of Syrian military

officials were present, including Brigadier General Issam Zahreddine from the Republican Guard

and                                         from the Special Forces. Id. ¶ 57. The informant was

shown an aerial photo of Baba Amr that was projected onto a screen. Id. After the meeting, a

hard-copy report was

conveyed to its Computer and Signals Section, to be cross-checked against wiretapped

information. Id. ¶ 58.

        Later,                                                     , the Deputy Head of the Computer

and Signals Section of Military Intelligence Branch 261                                       Major

General Shahadah that a broadcast had been intercepted that night from the very same location.

Id. ¶ 60. He briefed Shahadah                                                            the Deputy

Head                : “The boss is very happy.” Id.

                   iv. The Attack: February 22, 2012

        At around 9:30 a.m. on the morning of February 22, the “long, wailing sound of a rocket

cut through the air.” Conroy Decl. ¶ 23; see also Doe Decl. ¶ 25. An explosion shook the room

as a shell landed in front of the Media Center. Conroy Decl. ¶ 23. Within seconds of the first

blast, a second shell fell, this time to the rear of the building. Id.




13
   Syrian government documents confirm that a “committee operations office” was used by
Ayoub and Shahadah on other occasions to channel intelligence to army units for the targeting of
artillery strikes. See Brown Rep. ¶ 226; Brown Ex. C-93 at 004.


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       Wael al-Omar, woken by the first blast, scrambled to gather his belongings. Al-Omar

Decl. ¶ 22. Artillery units were unleashing a battery of rockets: Wael counted five more salvos

of rockets, drawing closer and closer to the Media Center. Id. ¶ 23. The shrill whistle of

exhaust-propelled rockets was unmistakable: from his prior service with the Special Forces,

Wael recognized the sound as belonging to the Syrian Army’s multiple rocket launcher

systems. 14 Id. ¶ 24. The pattern of fire was recognizable, too. Both Paul and Wael realized

from their artillery training that the Media Center was being “bracketed”: an artillery technique

for targeting a specific location whereby a forward observer relays course corrections to the

gunners between salvos until a target is struck. Al-Omar Decl. ¶ 23; Conroy Decl. ¶ 24. 15

       In the chaos of the incoming fire, the journalists and activists at the Media Center ran to

evacuate through the front hall of the ground-floor apartment to the entrance. See al-Omar Decl.

¶ 25; al-Omar Ex. B (hand-drawn layout of the Media Center). One activist tried to organize the

evacuation, telling the others to run in pairs across the street towards a building with an

underground shelter. Al-Omar Decl. ¶ 26. Marie and Wael held hands and waited for the first

pair to run out. Id. Then suddenly, Wael was pulled back by a Syrian activist. In Wael’s place,

the French photographer Rémi Ochlik ran alongside Marie, holding her hand. Id.

       Just as Marie and Rémi entered the front vestibule of the building, the shriek of a rocket

pierced the air. Id. ¶ 28. An explosion engulfed the Media Center. Conroy Decl. ¶ 26. The

blast killed Marie and Rémi and sent a shock wave into the main room of the Media Center,


14
   Syrian government documents confirm the Army’s use of BM-21 multi-barreled rocket
launchers in urban areas during 2012. See Brown Rep. ¶¶ 267–68; Brown Ex. C-140 at 014.
15
  Syrian government documents confirm this artillery targeting technique, noting the use of
GPS, computers, and rangefinders to acquire target information and the use of observers to
“deduc[e] the appropriate corrections to range and direction.” See Brown Rep. ¶¶ 269–70;
Brown Ex. C-139 at 005.


                                               17
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wounding Paul Conroy, Wael al-Omar, and Edith Bouvier. Conroy Decl. ¶ 29; al-Omar Decl.

¶ 28.

        The incoming artillery fire continued, a sustained attack that lasted more than 17 minutes.

See Doe Decl. ¶¶ 25–27; Doe Exs. D, E. The sound of the chaos was captured in real-time in a

Skype audio recording, in which the explosions at the Media Center and the cries of Paul Conroy

and other victims can be heard. Id.

        The survivors of the attack eventually fled from the building. Conroy Decl. ¶¶ 27–29.

Paul Conroy, gravely wounded, tried to scramble through the rubble of the entryway. Id. ¶ 27.

He collapsed next to Marie’s body. Id. She was torn up, her body motionless. Id. Paul knew

she was dead. Id.

        Javier Espinosa, who was uninjured, ran across the street to take shelter. Espinosa Decl.

¶ 19. The shells had been redirected and were now falling onto the street, where the survivors

were trying to escape. Id.; Conroy Decl. ¶ 28. In the lull between shells, Javier and Paul could

hear the buzzing of a drone overhead. Espinosa Decl. ¶ 20; Conroy Decl. ¶ 28. The shelling

eventually ceased. From the other side of the street, Javier took a photo of the damaged facade

of the Media Center. Espinosa Decl. ¶ 19; Espinosa Ex. A.

        Khaled Abu Salah, one of the founding members of the Media Center, who had been in a

nearby building during the attack, arrived on the scene shortly afterwards to assess the damage.

Al-Hamid Decl. ¶ 38. In shock, he narrated what he observed while a cameraman filmed the

bodies of Marie Colvin and Rémi Ochlik lying in rubble. Id. ¶¶ 38–39, al-Hamid Exs. D, E.

                    v. The Regime’s Celebration of Marie’s Death

        After confirming the success of the attack on the Media Center, Homs Security Chief

Major General Shahadah convened a group of Syrian military and intelligence officers to

celebrate                                                           Ulysses Decl. ¶ 62. Shahadah


                                                18
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thanked and congratulated them, including two officers who had debriefed the informant the

night before: Brigadier General Issam Zahreddine and Colonel Ali Salim from the Republican

Guard. Id. The heads of the Homs branches of the intelligence agencies also attended the party,

including Brigadier General Muhammad Zemrini, head of Military Intelligence Branch 261, and

Colonel Firas al-Hamed, head of General Intelligence Branch 318.              Id.

                     of the Special Forces eventually arrived at the celebration as well; Khaled

al-Fares identified him as the officer who had launched the attack, congratulated him, and told

him he would soon be getting a promotion. Id. ¶ 63.

       It was announced that an intelligence office had intercepted communications from inside

Baba Amr confirming the deaths of Marie Colvin and Rémi Ochlik. Id. ¶ 64. The officers drank

and celebrated the success of the attack. Id. ¶ 65. “That blind bitch was Israeli,”

                                shouted. Id. Shahadah replied: “Marie Colvin was a dog and now

she’s dead. Let the Americans help her now.” Id.

       A few days later, on or around February 25, 2012, al-Fares received a new car: a black

Hyundai Genesis. Id. ¶ 66.                    the car was a gift from Maher al-Assad, a reward for

the successful operation. Id.

           C. PROCEDURAL HISTORY

       On July 9, 2016, Plaintiffs commenced this action seeking damages and other relief for

the extrajudicial killing of Marie Colvin under the FSIA, 28 U.S.C. § 1605A(c). Pls.’ Compl.,

ECF No. 1. Service of process was effected on Syria by diplomatic channels on February 6,

2017 in accordance with 28 U.S.C. § 1608(a)(4). Aff. of Jerry N. Hess, ECF No. 28. Pursuant to

Section 1608(c)(1) and 1608(d), Defendant’s answer or other responsive pleading was due no




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later than April 7, 2017. None was filed. 16 On July 11, 2017, the Clerk of the Court entered

default against Defendant for failure to plead or otherwise defend this action. Clerk’s Entry of

Default, ECF No. 31.

     III.      ARGUMENT

            Under the FSIA, this Court may enter default judgment against Syria if it deems that

Plaintiffs have established their claim “by evidence satisfactory to the court.” See 28 U.S.C.

§ 1608(e). While the Court “has an obligation to satisfy itself that plaintiffs have established a

right to relief,” Roeder v. Islamic Republic of Iran, 333 F.3d 228, 232 (D.C. Cir. 2003), “the

FSIA leaves it to the court to determine precisely how much and what kinds of evidence the

plaintiff must provide.” Kim v. Democratic People’s Republic of Korea, 774 F.3d 1044, 1047

(D.C. Cir. 2014). In reaching its determinations, the Court may take “[u]ncontroverted factual

allegations that are supported by admissible evidence . . . as true.” Thuneibat v. Syrian Arab

Republic, 167 F. Supp. 3d 22, 33 (D.D.C. 2016); see also Owens v. Republic of Sudan, 864 F.3d

751, 785 (D.C. Cir. 2017) (“lenient standard is particularly appropriate for a FSIA terrorism case,

for which firsthand evidence and eyewitness testimony is difficult or impossible to obtain from

an absent and likely hostile sovereign”).




16
   In addition to receiving formal service through diplomatic channels, Syria has evidently been
aware of Plaintiffs’ claims since early on in the proceedings. Aff. for Default, ECF No. 29. See
also President al-Assad’s Interview with NBC News – Video, SYRIAN ARAB NEWS AGENCY (July
14, 2016), http://sana.sy/en/?p=82569 (for video of the interview, see Bill Neely, Bashar Al-
Assad Says U.S. Is “Not Serious” About Defeating ISIS, NBC NEWS (July 14, 2016, 04:09 AM),
http://www.nbcnews.com/storyline/aleppos-children/bashar-al-assad-says-u-s-notserious-about-
defeating-n609036, at Part 6). President Assad stated that Marie Colvin “came illegally to Syria,
she worked with the terrorists” and was “responsible of [sic] everything that befall on [sic] her.”
Id.


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             A. JURISDICTION AND STANDING EXIST IN THIS MATTER

                   i. Federal Subject Matter Jurisdiction Exists, Since Syria Is Not Entitled
                      to Immunity for Its Extrajudicial Killing of Marie Colvin

       Although foreign states are generally immune from lawsuits, the FSIA recognizes a

“terrorism exception” that strips sovereign immunity for those cases “in which money damages

are sought against a foreign state for personal injury or death that was caused by” certain actions

contrary to international law, including an “extrajudicial killing.” 28 U.S.C. § 1605A(a)(1).

This exception applies here for the reasons set forth in Section III.B. below, and may be invoked

because the additional pre-requisites for a case to be heard under § 1605A(a)(2) are met: (i) Syria

was designated a state sponsor of terrorism at the time of Marie’s killing, see supra, Section

I.C.ii; (ii) Plaintiffs and Marie Colvin were nationals of the United States at the time Marie was

killed, see supra, Sections I.B, I.C.i; and (iii) Plaintiffs afforded Syria a reasonable opportunity

to arbitrate, see Pls.’ Offer to Arbitrate, ECF No. 2; Simpson v. Socialist People’s Libyan Arab

Jamahiriya, 326 F.3d 230, 233–34 (D.C. Cir. 2003) (holding FSIA “does not require any

particular form of offer” and that offer made after service of complaint afforded a reasonable

opportunity to arbitrate).   28 U.S.C. § 1605A(a)(2).      See generally Mohammadi v. Islamic

Republic of Iran, 782 F.3d 9, 14 (D.C. Cir. 2015) (discussing §1605A(a)(2) pre-requisites).

Finally, Plaintiffs have brought this action within 10 years of Marie’s killing.         28 U.S.C.

§ 1605(b).

       Accordingly, since Syria is not entitled to immunity under the FSIA, this Court has

“original jurisdiction” over this matter. 28 U.S.C. § 1330(a).




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                   ii. Syria Is Subject to the Personal Jurisdiction of this Court Since
                       Subject Matter Jurisdiction Exists and Syria Has Been Properly
                       Served

       This Court has personal jurisdiction over Syria because, as set forth in Plaintiffs’

Affidavit for Default, ECF No. 29; see also Aff. of Jared N. Hess, ECF No. 28, service was

effected in accordance with the FSIA’s requirements. See 28 U.S.C. § 1330(b); Cohen v. Islamic

Republic of Iran, 238 F. Supp. 3d 71, 81 (D.D.C. 2017) (“[p]ersonal jurisdiction over foreign

states exists as long as the Court can exercise original jurisdiction under 28 U.S.C. § 1330(a) and

service of process meets the standards set forth by 28 U.S.C. § 1608”).

                  iii. Plaintiffs Have Standing to Bring Their Section 1605A(c) Claims
                       Against Syria

       Under the FSIA terrorism exception, nationals of the United States may seek an award of

economic damages, solatium, and punitive damages against non-immune foreign states. 28

U.S.C. § 1605A(c).     Plaintiffs are U.S. nationals.     See supra Section I.C.i. Plaintiffs may

therefore recover the economic damages arising from Marie’s death as beneficiaries of her

estate. 17 Additionally, Plaintiff Cathleen Colvin has standing to seek solatium for the emotional

pain she has suffered from being deprived of the society and comfort of her sister. See Valore v.

Islamic Republic of Iran, 700 F. Supp. 2d 52, 85 (D.D.C. 2010). Finally, all Plaintiffs have

standing to sue for punitive damages. Id. at 83.

           B. SYRIA IS LIABLE FOR THE EXTRAJUDICIAL KILLING OF MARIE COLVIN UNDER
              FSIA SECTION 1605A(c)

       Under Section 1605A, a designated state sponsor of terrorism is liable to a national of the

United States for death caused by an act of “extrajudicial killing” of that “state, or of an official,



17
  Plaintiff Cathleen Colvin is not a residuary beneficiary in Marie’s estate, but asserts claims on
behalf of her minor child, L.A.C., who is. See C. Colvin Decl. ¶ 3.


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employee, or agent of that foreign state.” 18 28 U.S.C. § 1605A(c). The record presented by

Plaintiffs overwhelmingly proves Syria’s liability for Marie Colvin’s death.

                   i. The Syrian Regime Was Responsible for Shelling the Baba Amr
                      Media Center and Killing Marie Colvin

       Marie was killed by an act of a “foreign state, or of an official, employee, or agent of that

foreign state.” See 28 U.S.C. § 1605A(c) (“a foreign state shall be vicariously liable for the acts

of its officials, employees, or agents”). As shown above in Section II.B (documenting high-level

government planning and supervision of Marie’s assassination), Marie’s death, and that of Rémi

Ochlik, was caused by the Baba Amr Media Center attack orchestrated by the Syrian state

through its officials, employees, and agents. The planners and perpetrators of the attack included

Syrian military and security officials from the highest ranks of the Assad Regime. See Ulysses

Decl. ¶¶ 24, 56–57 (describing role of Homs Security Chief Rafiq Shahadah in overseeing the

attack); Brown Rep. ¶¶ 210–34 (analyzing the command responsibility of Homs Military-

Security Chief Ali Ayoub and his deputy, Homs Security Chief Shahadah). These officers were

executing an official policy of targeting journalists, through a security apparatus under the top-

down control of the Assad Regime. See Barakat Decl. ¶ 11 (describing CCMC’s oversight of

military-security operations); Brown Rep. ¶¶ 179–208 (detailing the command structure linking

18
   Because Plaintiffs are bringing their claims under the federal cause of action authorized by 28
U.S.C. § 1605A(c), they are not required to rely on state tort law to establish liability. Owens,
864 F.3d at 808–09 (detailing history of the terrorism exception to the FSIA and the significance
of the 2008 enactment of a federal cause of action under § 1605A(c)). An extrajudicial killing
under Section 1605A is a wrongful death for which Plaintiffs may recover without bringing a
wrongful death claim under state law. See Shoham v. Islamic Republic of Iran, No. 12-CV-508
(RCL), 2017 WL 2399454, at *18 (D.D.C. June 1, 2017) (“It is axiomatic that acts of terrorism
under section 1605A—including extrajudicial killing or material support thereof—are, by
definition, wrongful. Any deaths resulting from an act of terrorism under section 1605A are
properly considered wrongful deaths, and a plaintiff's recovery under a wrongful death theory of
liability is appropriate. Thus, where a foreign state or an agency/instrumentality thereof is liable
for an extrajudicial killing . . . it may be liable for the economic damages experienced by the
decedent's heirs under the . . . the FSIA.”).


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the military and intelligence forces in Homs to the CCMC and President Assad and analyzing

CCMC communications concerning Homs).

        Marie’s killing is thus directly attributable to the Syrian state. See, e.g., Kim, 774 F.3d at

1051 (directing entry of default judgment against North Korea for torture and extrajudicial

killing carried out by state operatives); Saludes v. Republica de Cuba, 577 F. Supp. 2d 1243,

1251 (S.D. Fla. 2008) (state liable for torture by state police directed against a journalist for his

journalistic activities). 19

                     ii. The Regime’s Murder of Marie Colvin Was an “Extrajudicial
                         Killing” Actionable Under FSIA Section 1605A(c)

        Marie Colvin’s death – methodically planned and executed by the Assad Regime –

constitutes an “extrajudicial killing.”     The FSIA defines “extrajudicial killing” as (1) a

“deliberated killing” that (2) was “not authorized by a previous judgment pronounced by a

regularly constituted court affording all the judicial guarantees which are recognized as

indispensable by civilized people,” and which (3) was not “lawfully carried out under the

authority of a foreign nation” “under international law.” 28 U.S.C. §§ 1605A(a)(1), (h)(7)

(incorporating the definition of the term under the Torture Victim Protection Act, 28 U.S.C.

§ 1350, note § 3(a)). As the D.C. Circuit emphasized, an extrajudicial-killing claimant “need

demonstrate only that the [defendant] killed the [victim] without due process.” Kim, 774 F.3d at

1050. The record presented by Plaintiffs more than demonstrates this here.




19
  There is no question that Syria’s attack on the Media Center was the direct cause of Marie’s
death and Plaintiffs therefore do not separately discuss causation.


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                            1. The Regime’s Rocket Attack on the Baba Amr Media Center Was
                               a “Deliberated Killing” Intended to Kill Marie Colvin and Other
                               Civilians

        Plaintiffs present overwhelming evidence that Marie was killed by the Assad Regime

through precisely the sort of purposeful, considered conduct regularly held to be a “deliberated

killing” by this Court. See, e.g., Flanagan v. Islamic Republic of Iran, 190 F. Supp. 3d 138, 163

(D.D.C. 2016) (defining “deliberated killing” as one that is “arrived at or determined upon as a

result of careful thought and weighing of considerations for and against the proposed course of

action” by reference to pattern jury instructions). For example, in Kaplan v. Central Bank of the

Islamic Republic of Iran, this Court found that deadly rocket attacks launched against civilian

targets by Hezbollah – a non-state terrorist ally of the Assad Regime – were extrajudicial killings

under Section 1605A. 55 F. Supp. 3d 189, 200 (D.D.C. 2014). The hallmark of attacks held to

be extrajudicial killings has been their “careful planning” and “meticulous” preparation. See

Worley v. Islamic Republic of Iran, 75 F. Supp. 3d 311, 325 (D.D.C. 2014) (ruling that bombing

of a U.S. Marines unit was a deliberated killing for purposes of Section 1605A where the

“meticulous[ly]” prepared attack “was carried out after careful planning and caused the deaths of

241 servicemen”). As shown below, Marie’s killing bears all the indicia of a meticulously

planned attack designed to take civilian life and instill terror.

        The declaration of “Ulysses,” a defector from the Syrian intelligence services,

reconstructs the Regime’s planning and preparation of the rocket attack on the Media Center.

Ulysses Decl. ¶¶ 50–62.

Ulysses directly observed how events unfolded during the evening of February 21 and morning

of February 22. Id. ¶ 51.                      the informant’s tip as to the location of the Media

Center. Id.                                                   between Regime officials in which an

operational plan was approved,              went all the way up to the office of Maher al-Assad, the


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President’s brother and de facto commander of the Syrian Army’s elite Fourth Division. Id.

¶¶ 51, 53–54; see also id. ¶ 12 n.4.                   the Signals Section’s confirmation that a

broadcast had been made that night from the same location (when Marie gave interviews to

multiple news stations). Id. ¶ 60. He observed first-hand as a sophisticated military-security

apparatus sprang into action to plan and then execute an artillery strike on that location. See Id.

¶¶ 50–62. And in the morning, there was confirmation that Marie had been killed, followed by

celebration, and, ultimately, rewards for those involved – acts clearly showing the intent to kill

Marie. Id. ¶¶ 62–67. 20

       The Regime’s motive for killing Marie was clear – and indeed openly admitted by

Regime officials. Beginning in August 2011, the CCMC authorized joint military-security

campaigns against those who “tarnish[ed] the image of Syria in the foreign media. . . .” Brown

Ex. C-40 at 094; see also supra Section II.A.ii. And in January 2012, senior Regime officials,

including the Deputy Defense Minister, openly announced in diplomatic discussions that they

intended to target the Media Center, specifically because it hosted foreign journalists. Nouar

Decl. ¶¶ 28–32; see also supra Section II.B.i. They acted on that intent on February 22.

       The Regime’s modus operandi in shelling the Baba Amr Media Center further reflects

the deliberate and calculated nature of the attack. 21 First, the heavy caliber rockets used in the



20
   Ulysses’ account of the actors involved that night, including the top-level officials who
authorized the strike, is corroborated by the Expert Report of Ewan Brown and the Syrian
government documents on which he relies. Brown’s reconstruction of the Syrian military-
security apparatus confirms Ulysses’ knowledge of the secretive Regime’s structure, personnel,
and policies – details only available to an insider. See, e.g., Brown Rep. ¶¶ 212–213 (confirming
Rafiq Shahadah’s role as Security Chief in Homs); id. ¶¶ 244–246 (confirming Military
Intelligence Branch 261’s use of signals interception and informants to monitor opposition in
Homs).
21
  The D.C. Circuit has held that expert testimony and circumstantial inference can suffice,
without more, to establish liability under the terrorism exception. See Owens, 864 F.3d at 787–

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shelling were identical to those used by the Syrian Army, and only the Regime possessed such

weaponry at the time. See al-Omar Decl. ¶ 24 (recognizing the sound of rocket launcher systems

used by the Syrian army); Brown Rep. ¶ 267 (analyzing Syrian Army documents revealing the

use of such rocket launcher systems in urban areas); Doe Decl. ¶ 11 (noting that FSA rebels in

Baba Amr lacked heavy artillery). Second, the pattern of fire indicated the attack’s targeted

nature. As former soldiers trained in artillery and reconnaissance, Paul Conroy and Wael al-

Omar recognized that the incoming rockets were being launched using a “bracketing” technique

commonly employed “to ensure that shells hit their intended target.” Conroy Decl. ¶ 24; al-

Omar Decl. ¶ 23. Conroy describes bracketing as “walk[ing] rounds onto a target” via careful

observations and adjustments, until the intended target is hit. Conroy Decl. ¶ 24. The Regime’s

targeting method clearly reflects that Marie’s killing was deliberate and “carried out after careful

planning.” Worley, 75 F. Supp. 3d at 321, 325 (considering, among other factors, the method of

attack as proof of its deliberateness).

       The timing of the attack likewise leaves no doubt it was deliberate. The Regime struck

after it intercepted Marie’s broadcasts on the night of February 21, which corroborated the

informant’s tip. Ulysses Decl. ¶¶ 58, 60; see also Conroy Decl. ¶¶ 21–22. 22

       The level of coordination required in the attack is further proof of its deliberate nature.

The attack was planned, prepared, and executed by a joint enterprise that included the Homs



89 (finding state liable over objection that plaintiffs presented only circumstantial evidence);
accord Kim, 774 F.3d at 1049. Plaintiffs present far more.
22
   The Regime was also put on notice of Marie’s presence by her live broadcasts on major news
networks from inside Baba Amr, which the Regime, with its dedicated Media Monitoring Cell
and interception capabilities, could not have avoided. See Brown Rep. ¶¶ 177, 244–45, 250.
Marie’s then-editor describes how on the ground, Paul sensed that “Marie’s high profile due to
th[e] week’s material in paper and TV interviews also compromise[d their] safety.” Witherow
Decl. ¶ 15.


                                                27
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Military-Security Committee, Military Intelligence Branch 261, General Intelligence Branch

318, and Syrian Army units, including Special Forces and the Republican Guard. See Ulysses

Exs. C, D. These very same actors were responsible for other operations against media targets,

including after Marie’s killing. See Brown Rep. ¶¶ 230–31. For example, internal Regime

documents show that on April 18, 2012, Shahadah received a report from General Intelligence

Branch 318 summarizing intercepted phone calls between an activist and an Al-Jazeera news

anchor in Homs; he forwarded the information via Military Intelligence Branch 261 to Army

units, including the 41st Special Forces Regiment, with orders to “take the necessary measures.”

Brown Ex. C-102 at 001–02. That operation bears a striking resemblance to the Media Center

attack. Put simply, the military-security apparatus responsible for killing Marie coordinated

similar operations, using equivalent means and methods. 23

       Moreover, the attack on the Media Center was part of the Regime’s long-standing and

escalating campaign to violently silence media workers, including foreign journalists, as enemies

of the state. See Kaye Rep. ¶¶ 25–30; Ford Rep. ¶¶ 58–68; Brown Rep. ¶¶ 66, 169–78. Indeed,

in the same week as its attack on the Baba Amr Media Center, the Regime liquidated another

preeminent press-freedom organization in Syria: the Syrian Centre for Media and Freedom of

Expression. See Kaye Rep. ¶ 26. The Regime’s attack on the Media Center was thus neither

accidental nor indiscriminate, but rather an operation undertaken after meticulous planning and

in furtherance of its explicit goal of curtailing free media.


23
   Modus operandi evidence is highly probative in identifying the existence of a conspiracy or
joint criminal enterprise, as it exposes motives for conduct that might otherwise be innocently
explained. See United States v. Long, 328 F.3d 655, 666 (D.C. Cir. 2003) (affirming
admissibility of expert testimony “regarding the modus operandi of a certain category of
criminals where those criminals’ behavior is not ordinarily familiar to the average layperson”).
Here, it shows that Marie’s killing was part of the Regime’s coordinated campaign to attack
journalists.


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        In short, both direct testimony and evidence of the Regime’s means, motive, and

opportunity show that Marie’s killing was a deliberate, politically motivated assassination. See

Bakhtiar v. Islamic Republic of Iran, 571 F. Supp. 2d 27, 30, 33–34 (D.D.C. 2008), aff’d, 668

F.3d 773 (D.C. Cir. 2012) (finding regime rule was marked by “a policy of assassinating

dissidents at home and abroad” and holding that killing was “deliberate and meticulously

planned”).

                           2. The Regime’s Deadly Attack on a Civilian Was Not Authorized
                              by Any Court

        The Regime never charged Marie with any crime, nor afforded her a trial. Its deliberate

killing of Marie was not “authorized by a previous judgment pronounced by a regularly

constituted court affording all the judicial guarantees which are recognized as indispensable by

civilized people,” 28 U.S.C. § 1350, note § 3(a); and the Regime has never claimed otherwise.

See, e.g., Valencia v. Islamic Republic of Iran, 774 F. Supp. 2d 1, 11 (D.D.C. 2010) (refusing to

view killing as authorized where “there [is no] evidence that these acts were judicially sanctioned

by any judicial body – much less a court that respects guarantees of life and liberty”).

                           3. The Regime’s Deadly Attack on a Civilian Was Not Authorized
                              Under International Law

        The Regime’s deliberate killing of Marie was not, as a matter of “international law,”

“lawfully carried out under the authority of a foreign nation.” 28 U.S.C. § 1350, note § 3(a).

Instead, it violated clear precepts of international law, long recognized by U.S. courts in holding

that assassinations, summary executions, and deadly bombing attacks constitute extrajudicial

killings.    See, e.g., Letelier v. Republic of Chile, 488 F. Supp. 665, 673 (D.D.C. 1980)

(“Whatever policy options may exist for a foreign country, it has no ‘discretion’ to perpetrate

conduct designed to result in the assassination of an individual or individuals, action that is

clearly contrary to the precepts of humanity as recognized in both national and international


                                                29
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law.”); Elahi v. Islamic Republic of Iran, 124 F. Supp. 2d 97, 107 (D.D.C. 2000) (same). Indeed,

Marie’s killing was a dual violation of both international human rights law and international

humanitarian law governing armed conflict, binding on Syria through its own treaty obligations

or through the operation of customary international law. Kaye Rep. ¶¶ 31–33, 40–42.

        For example, as a party to the International Covenant on Civil and Political Rights, a key

human rights instrument, Syria is bound by Article 6(1), which protects the inherent right to life,

of which no one may be “arbitrarily deprived.” International Covenant on Civil and Political

Rights (the “ICCPR”) art. 6(1), Dec. 16, 1966, 999 U.N.T.S. 171; see also Kaye Rep. ¶¶ 40–41.

The ICCPR prohibits any derogations from the right to life, including during a “time of public

emergency which threatens the life of the nation.” ICCPR arts. 4, 6; see also Kaye Rep. ¶ 41

n.108. The ICCPR also continues to apply during times of armed conflict, 24 see Kaye Rep. ¶¶

39–41, when the “test of what is an arbitrary deprivation of life” is further informed by

international humanitarian law. Legality of the Threat or Use of Nuclear Weapons, Advisory

Opinion, I.C.J. Reports 1996 (July 8), ¶ 25, http://www.icj-cij.org/files/case-related/95/095-

19960708-ADV-01-00-EN.pdf.         As discussed below, international humanitarian law clearly

prohibits the deliberate targeting of civilian journalists, making Marie’s unjustifiable killing an

arbitrary deprivation of life.

        The targeted killing of Marie Colvin – a civilian journalist not involved in hostilities –

cannot be justified by any purported military necessity under international humanitarian law. In


24
   The application of international humanitarian law is triggered when fighting reaches a
sufficient degree of intensity and the belligerents have a sufficient degree of organization so as to
constitute an “armed conflict”; this is a fact-specific inquiry. See Kaye Rep. ¶ 32 n.83. Here, the
U.N. Independent International Commission of Inquiry on the Syrian Arab Republic has
determined that the hostilities in Homs in February 2012 had developed into an armed conflict of
a non-international character sufficient to trigger the application of international humanitarian
law. Id. The facts in the record are consistent with that finding.


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this regard, “Common” Article 3, included in all four Geneva Conventions, prohibits Syria from

targeting civilians for attack unless and for such time as they take direct part in hostilities. See,

e.g., Geneva Convention (IV) Relative to the Protection of Civilian Persons in Time of War

art. 3(1)(a), Aug. 12, 1949, 75 U.N.T.S. 287 (“[V]iolence to life and person, in particular murder

of all kinds” are prohibited “at any time and in any place whatsoever” against “[p]ersons taking

no active part in the hostilities”).     Indeed, the deliberate targeting of civilians – such as

journalists – is a war crime under U.S. and international criminal law.             See 18 U.S.C. §

2441(d)(1)(D) (imposing penalties on “a person who intentionally kills, or conspires or attempts

to kill, . . . one or more persons taking no active part in the hostilities”); Kaye Rep. ¶¶ 36–37. 25

       Marie Colvin and the other media workers at the Media Center on the morning of

February 22, 2012 were civilians trying to expose to the world the brutal siege of Baba Amr;

they were not actively engaged in hostilities and therefore could not have been a legitimate target

of attack. As Special Rapporteur Kaye explains:

       [J]ournalists who cover the conflict in Syria and report on related events do not
       constitute direct participants in hostilities and cannot be deemed legitimate targets
       under international humanitarian law. Nor can the Syrian government’s rhetoric
       of engaging in a “media war” make them such. The camera, the pen, and even
       Facebook are not weapons of war, no matter how damaging war reporting might
       be to a belligerent power and no matter how forcefully that power condemns
       wartime journalism as propaganda.

Kaye Rep. ¶ 38 (internal citations omitted); cf. Nouar Decl. ¶ 29 (“cameras, not Kalashnikovs”).

See also, e.g., Elahi, 124 F. Supp. 2d at 114 (noting that assassination of a vocal dissident as part



25
   For example, in 2007, the International Criminal Tribunal for the Former Yugoslavia
convicted a former Bosnian-Serb army commander of war crimes, based in part on his ordering
of the shelling of a television studio. Prosecutor v. Milošević, Case No. IT-98-29/1-T, Trial
Chamber Judgment, ¶¶ 580, 964 (Int’l Crim. Trib. for the Former Yugoslavia Dec. 12, 2007),
available at http://www.icty.org/x/cases/dragomir_milosevic/tjug/en/071212.pdf.



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of a strategy “to decapitate the opposition” “violate[d] fundamental precepts of international

law” and was contrary to “society’s interest in the free expression of political ideas”).

       In sum, the Regime’s killing of Marie Colvin was both extrajudicial, in its deliberate

nature and total lack of due process, and unlawful, in its dual violation of international human

rights and humanitarian law.

           C. THE REGIME’S EXTRAJUDICIAL KILLING OF MARIE COLVIN ENTITLES
              PLAINTIFFS TO ECONOMIC DAMAGES, SOLATIUM, AND PUNITIVE DAMAGES

       There is a gross unreality to placing a numeric value on a human life lost to a targeted

killing intended to silence dissent and hide government abuses. Nevertheless, the FSIA utilizes

damages as an effort to redress some of the harm done to plaintiffs and to deter perpetrators from

future acts of brutality. Such damages “may include economic damages, solatium . . . and

punitive damages.” 28 U.S.C. § 1605A(c). This Court has awarded such damages where, as

here, plaintiffs (i) demonstrate that the defendant’s “commission of [an] act[ ] of extrajudicial

killing . . . w[as] reasonably certain to, and indeed intended to, cause injury” and (ii) “prove the

amount of damages by a reasonable estimate consistent with this Circuit’s application of the

American rule on damages.” Goldberg-Botvin v. Islamic Republic of Iran, 938 F. Supp. 2d 1, 11

(D.D.C. 2013) (internal citations omitted).        As demonstrated above, the Syrian Regime

perpetrated an act of extrajudicial killing that was reasonably certain – and, indeed, intended – to

kill Marie Colvin and other civilians.

                    i. Plaintiffs Are Entitled to Damages Reflecting the Economic Value of
                       Life Lost in the Baba Amr Media Center Attack

       Courts quantify and award compensatory damages reflecting (i) income the decedent was

expected to have earned but for her death that is “reasonabl[y] estimate[d]” by an expert and

based on well-founded assumptions, see, e.g. Thuneibat, 167 F. Supp. 3d at 48–50; and

(ii) “reasonable” funeral expenses like the cost of any family travel, see, e.g. Elahi, 124 F. Supp.


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2d at 109; Belkin v. Islamic Republic of Iran, 667 F. Supp. 2d 8, 24 (D.D.C. 2009). Recoverable

economic damages may include “lost wages, benefits and retirement pay, and other out-of-

pocket expenses,” Owens v. Republic of Sudan, 71 F. Supp. 3d 252, 258 (D.D.C. 2014), aff’d in

part, question certified, 864 F.3d 751 (D.C. Cir. 2017), and can be based on past activities and

forward-looking projections that take into account personal planning, prior professional success,

industry standards, and other similar factors. See, e.g., Belkin 667 F. Supp. 2d at 24.

       At the time of her death, Marie was already widely regarded as a legend in her field.

C. Colvin Decl. ¶ 26; Witherow Decl. ¶ 25. Her dedication to and skill at reporting on conflicts

and disasters around the globe earned her numerous awards, including the prestigious British

Press Awards’ Foreign Reporter of the Year. See C. Colvin Decl. ¶ 26 n.18 (listing awards); see

also Witherow Decl. ¶¶ 25–26 (describing Marie’s “legion of accolades” and “glittering prizes,”

and pronouncing her to be “the leading war correspondent of her generation”). A posthumous

U.S. Senate Resolution described Marie as “one of the foremost war correspondents of her

generation” who “exemplified American values of humanity, accountability, decency,

transparency, and courage,” “worked with relentless bravery to report on the recent uprising in

Syria and to expose crimes against humanity, human-rights violations, and the ravages of war in

conflict zones throughout the world, including the Balkans, the Chechen Republic, Libya, and

Sri Lanka,” and “serv[ed] as the conscience of the world.” See S. Res. 404, 112th Cong. (2012);

see also C. Colvin Decl. ¶ 44. Marie’s career was “extraordinary,” and promised “remarkable”

future accomplishments, including books and films based on her extraordinary experiences, as

well as speaking engagements and more of the kind of writing that earned her accolades like

“queen of war correspondents.” See Witherow Decl. ¶¶ 22, 33; C. Colvin Decl. ¶ 16 (quoting




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articles). “[S]he would have done it all and more if she had not been murdered.” C. Colvin

Decl. ¶ 29; see also Witherow Decl. ¶¶ 33–38.

       Plaintiffs’ expert, Dr. Maria Tsennykh, provides a conservative estimate for economic

damages as of the date of this filing of $2,382,476. Expert Report of Dr. Maria Tsennykh ¶ 46.

This estimate was derived from a gross earnings model that incorporated information about

Marie’s past earnings with The Sunday Times and projected future earnings based on documents

provided by The Sunday Times and Marie’s estate, as well as witness declarations, regarding

Marie’s expected retirement plans, health, the risk factors involved in her job, and adjustments

for the time value of money and other economic factors. See id. ¶¶ 16–17. This methodology

has previously been accepted by this Court as providing a reasonable estimate of damages. See,

e.g., Belkin, 667 F. Supp. 2d at 24 (accepting expert’s gross earnings analysis based on

“reasonable and well-founded assumptions about the likely earnings of [decedent] had she

survived,” including pension, and applying interest and discount rates for the time value of

money); see also Surette v. Islamic Republic of Iran, 231 F. Supp. 2d 260, 268 (D.D.C. 2002)

(accepting expert’s estimate for timing of retirement based on assumption that decedent would

have worked for a government salary until the age of 65 and would have subsequently worked

“in the private sector at a salary commensurate with that of others in similar positions from a

similar background” for another five years).

                  ii. Plaintiff Cathleen Colvin Is Further Entitled to an Award of Solatium
                      Given the Anguish Caused by the Death of Her Sister

       Section 1605A specifically provides for solatium recovery, 26 28 U.S.C. § 1605A(c)(4),

and courts in this Circuit routinely grant such awards to plaintiffs who experience “mental



26
  Plaintiffs do not separately analyze their harm under the framework of intentional infliction of
emotional distress, as this Court has held them to be “indistinguishable” and “functionally

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anguish, bereavement, and grief” of a sibling with whom they had a “close personal

relationship.”   Belkin, 667 F. Supp. 2d at 22; see also Elahi, 124 F. Supp. 2d at 110-11

(“Solatium may include a claim for loss of a sibling where the claimant proves a close emotional

relationship with the decedent . . . . Testimony about the mental anguish and grief experienced

as a result of the death of a loved one is sufficient to sustain a claim for solatium.”).

       FSIA extrajudicial killing claims generally merit an award of solatium for siblings based

on, inter alia, (i) “a close emotional relationship” or “special bond” between the siblings as

compared to the norm; (ii) the surviving sibling’s sense of “profound emotional loss” and its

likelihood of persisting; and (iii) any “horrific surrounding circumstances.” Elahi, 124 F. Supp.

2d at 110–12. Courts in this Circuit generally begin with “a baseline award of $2.5 million to

siblings,” from which the Court can then “deviate in order to compensate for specific

circumstances.” Thuneibat, 167 F. Supp. 3d at 51; see also Estate of Heiser v. Islamic Republic

of Iran, 466 F. Supp. 2d 229, 269 (D.D.C. 2006); Elahi, 124 F. Supp. 2d at 109–12 (granting an

upward departure and awarding a total of $5 million for each sibling based on “special bond”

with the decedent, extreme sorrow at his death, and noting the “attendant horrific surrounding

circumstances” of death by violent attack). 27

       The circumstances surrounding Marie’s death merit an elevated solatium award.

Cathleen’s relationship with Marie was extraordinary.          As Cathleen attests, Marie was her

“principal support system”; a “sister, friend, [and] second mother” to whom Cathleen “turned to

in [her] hardest moments.” C. Colvin Decl. ¶¶ 31, 45; see also J. Araya-Colvin Decl. ¶ 12; C.

identical to” claims for solatium under FSIA § 1605A. See, e.g., Surette, 231 F. Supp. 2d at 267
n.5; Bluth v. Islamic Republic of Iran, 203 F. Supp. 3d 1, 21 (D.D.C. 2016).
27
  “In determining the appropriate award of damages for solatium, the Court may look to prior
decisions awarding damages for intentional infliction of emotional distress as well as to
decisions regarding solatium.” Belkin, 667 F. Supp. 2d at 23.


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Araya-Colvin Decl. ¶ 4. 28        The two sisters kept in close contact, sometimes through the

exceptional means of satellite phones, despite Marie’s far-flung deployments and Cathleen’s own

challenging work. See id. ¶ 36. They showed up in each other’s darkest moments, traveled

together regularly, planned for joint film projects and a vacation home. See id. ¶ 28. Marie also

played an important role for Cathleen’s children, and their loss of this relationship has weighed

on Cathleen alongside her own. See id. ¶¶ 32, 47–49; see also J. Araya-Colvin Decl. ¶¶ 10, 12;

C. Araya-Colvin Decl. ¶¶ 6, 8. The nature of Marie’s death has also deprived Cathleen’s

children of a significant relationship in a way that haunts their adolescence. See, e.g., J. Araya-

Colvin Decl. ¶¶ 6, 10–11, 13 (describing, inter alia, the absurdity of having to Google her “dead

aunt” in lieu of getting to speak with her); C. Araya-Colvin Decl. ¶¶ 7–8 (“I still carry Aunt

Marie’s death with me like a scar.”).

          The grief and loss Cathleen has experienced have been profound and abiding. She

writes:

          Losing Marie gutted me. She had been so many things to me – sister, friend, a
          second mother. Marie was the person I turned to in my hardest moments. It
          seemed impossible to get through this unbearable loss without having her to talk
          to. I still struggle to cope with that hollow, bereft feeling; I still have the impulse
          to call her. I still cry at night when it is quiet, and every time I talk about her
          murder. . . . Sometimes losing her feels like it is still happening to me, with new
          aching spaces in my life revealed every time I think that she should be there to
          watch my kids discover themselves and the world, or that she should give them
          some inappropriate gift or take them on a trip with her. Mostly I just want to hear
          her laugh. Marie was everything to me and my life is completely different
          without her. She should still be here.

C. Colvin Decl. ¶¶ 45, 53.

28
  Marie’s role in Cathleen’s life was particularly significant in light of their father’s early death
when Cathleen was only eleven, see C. Colvin Decl. ¶¶ 9–12. See, e.g. Elahi, 124 F. Supp. 2d at
111–12 (awarding upward adjustment to $5 million in solatium to each brother of deceased
because the evidence showed that, despite the distance, the victim “not only was a dearly
beloved brother to his two younger brothers, but he also fulfilled the role of the head of the
family and his loss may be said to be that of a brother and a father”).


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       Cathleen’s suffering was made more acute by the horrific circumstances of Marie’s

death: knowledge of violent rocket fire and crushing stone; a frantic, nightmarish effort to

repatriate Marie’s body; the guilt of knowing how many endangered themselves to help; and the

irreparable damage to her family from experiencing the loss. C. Colvin Decl. ¶¶ 38–39; see also

C. Araya-Colvin Decl. ¶ 6.

                  iii. The Court Should Also Award Punitive Damages Given the
                       Outrageous Nature of the Assad Regime’s Deadly Attack, the
                       Depravity of Its Motives, and the Importance of Punishing and
                       Deterring Such Conduct

       The FSIA terrorism exception authorizes punitive damages to deter and penalize attacks

on civilians. See Owens, 864 F.3d at 816. Such damages are clearly warranted here. Marie’s

killing – in itself a cold-blooded and calculated act – was part of a larger pattern and practice of

censorship through violence that left numerous media workers in Syria dead, disappeared, or

broken through torture. The harm inflicted through these acts extends far beyond the pain

inflicted upon Marie and other victims, and even beyond the suffering of their bereaved family

members. The deliberate targeting of journalists inflicts broad societal harms, as it isolates the

besieged Syrian civilian population from the international community and cuts off citizens and

policymakers around the world from the front-line conflict reporting that is essential to

deliberation on matters of war.      Harms of this magnitude can only be deterred through

commensurate punitive damages.

       Punitive damages are “meant to award the victim an amount of money that will punish

outrageous behavior and deter such outrageous conduct in the future.”            Bodoff v. Islamic

Republic of Iran, 907 F. Supp. 2d 93, 105 (D.D.C. 2012) (internal quotations omitted). In

considering whether to award punitive damages, courts evaluate “(1) the character of the

defendants’ act, (2) the nature and extent of harm to the plaintiffs that the defendants caused or



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intended to cause, (3) the need for deterrence, and (4) the wealth of the defendants.” Id. (internal

quotations omitted). 29 The Assad Regime’s extrajudicial killing of Marie Colvin is precisely the

type of “outrageous” conduct that this Court has previously held merits punitive damages under

this framework. 30

       First, the character of Defendant’s acts could not have been more depraved. The record

proves that the Regime targeted Marie because she was a journalist intent on publicizing its

abuses. Such targeting is not only a war crime and human rights violation, see supra, Section

III.B.ii.3, but also reflects a cynical strategy of silencing dissent no matter the cost. It is thus

precisely the type of politically motivated killing that this Court has previously condemned

through punitive damages. See, e.g., Oveissi v. Islamic Republic of Iran, 879 F. Supp. 2d 44, 56–

57 (D.D.C. 2012) (finding that a street assassination of a high-ranking official was an act of

“extreme depravity” and “among the most heinous the Court can fathom,” and awarding $300

million in punitive damages); Elahi, 124 F. Supp. 2d at 102, 114 (awarding $300 million in

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   Although this Court has sometimes used other methods for calculating punitive damages, those
approaches do not appear to apply to situations where (i) the state itself ordered the attack; and
(ii) the state’s conduct had not been adjudicated previously. Cf. Braun v. Islamic Republic of
Iran, 228 F. Supp. 3d 64, 87 (D.D.C. 2017) (holding that alternative approach multiplying state’s
expenditure on terrorism by accepted factor was appropriate for “exceptionally deadly attacks”
with hundreds of victims); Thuneibat, 167 F. Supp. 3d at 53–54 (punitive damages award based
on ratio of punitive to compensatory damages appropriate only where same conduct had already
been litigated).
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   This Court has already established that Syria has substantial wealth at its disposal. See, e.g.,
Thuneibat, 167 F. Supp. 3d at 54. The Court previously looked to Syria’s expenditures on
terrorism, which were estimated to amount to between $500 and $700 million annually, to
conclude that Syria’s wealth favored high punitive awards. In 2011, the last year for which data
is available, Syria is also reported to have spent almost $2.5 billion on its military, which was
directly responsible for Marie’s extrajudicial killing.               Syrian Military Budget,
MILITARYBUDGET.ORG (last visited Mar. 18, 2018), http://militarybudget.org/syria/. Cf.
Weinstein v. Islamic Republic of Iran, 184 F. Supp. 2d 13, 25 (D.D.C. 2002) (concluding that the
Iranian Ministry of Information and Security had “substantial amounts of funds at its disposal,”
given that it had approximately 30,000 employees and an annual budget of between USD $100
and $400 million).


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punitive damages based on finding that assassination of a dissident “for his outspoken criticism

of the Iranian regime” was part of “intentional, premeditated, malicious, and cruel” strategy “to

decapitate the opposition” and thus warranted the “substantial punitive damages awarded”

because it “violate[d] fundamental precepts of international law” and because of a need to

“recognize society’s interest in the free expression of political ideas”); Kim v. Democratic

People’s Republic of Korea, 87 F. Supp. 3d 286, 291 (D.D.C. 2015) (awarding $300 million in

punitive damages upon finding that the State’s torture and killing of a missionary for his

humanitarian efforts towards defectors and refugees was “awful and worthy of the greatest

condemnation” warranting “significant deterrence”).

       In comparable cases of political assassinations, other courts have recognized the need for

significant punitive damages. In Doe v. Saravia, for example, the Eastern District of California

found that the killing of El Salvador’s Archbishop Romero, who used his position to denounce

human rights abuses, warranted substantial punitive damages to account for the “international

stature of the victim” and his importance to seeking peace in El Salvador and bridging

communities. 348 F. Supp. 2d 1112, 1121, 1159 (E.D. Cal. 2004); see also Dacer v. Estrada,

No. C 10-04165 WHA, 2014 WL 229801, at *5 (N.D. Cal. Jan. 21, 2014) (noting importance of

deterring extrajudicial killings of publicists engaged in political activity through punitive

damages awards). Similarly, the Regime’s deliberate killing of Marie justifies the imposition of

significant punitive damages, as it took the life of a journalist of global stature whose work

contributed to the world’s understanding of armed conflict and even saved lives. See, e.g.,

Witherow Decl. ¶¶ 22–26, 33.

        Second, the Regime’s direct responsibility for Marie’s death also supports a significant

punitive damages award. Unlike the defendants in most Section 1605A cases, the Syrian Regime




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was not merely a financial accomplice; it was the direct perpetrator of the crime. Compare Kim,

87 F. Supp. 3d at 291 (awarding $300 million in punitive damages for North Korea’s abduction,

torture and killing of a missionary for his humanitarian efforts towards North Korean refugees

and defectors), with Cohen v. Islamic Republic of Iran, 268 F. Supp. 3d 19, 28 (D.D.C. 2017)

(considering that “outsized punitive damages award is also less justified when the perpetrator

funded the terrorist activities rather than carried them out himself”).

       Third, the harm inflicted was devastating. The Regime’s killing of Marie ended an

extraordinary life and devastated Marie’s family in countless cruel ways. It was an outrageous

act “worthy of the greatest condemnation,” which “caused irreparable emotional and

psychological harm to the [plaintiffs].” Kim, 87 F. Supp. 3d at 291. And that harm is not limited

to Marie’s family. The brutal, public, and highly symbolic killing of Marie was designed to

instill fear in the Syrian civilian population and to have a chilling effect on newsrooms and their

coverage of the Syrian conflict. See Kaye Rep. ¶ 30 (noting chilling effect on coverage of Syria

as a distinct societal harm); Witherow Decl. ¶ 30 (“A death deters future assignments by less

well-resourced [news] organizations.”). The Regime specifically targeted “those who tarnish the

image of Syria in foreign media and international organizations,” Brown Ex. C-40 at 094,

whether they are foreign journalists or Syrians sharing information with foreign journalists or

human rights organizations. By targeting the lines of communication that linked Syria to the

outside world, the Regime evidently aimed to isolate Syria’s civilian population from the aid and

solidarity of the international community. See Kaye Rep. ¶ 30; Brown Rep. ¶¶ 146, 177–78

(noting Regime rhetoric of defending Syria against international conspiracy); see also Nouar

Decl. ¶ 28 (describing Syrian Deputy Defense Minister Shawkat’s statement that “he would have

been able to destroy Baba Amr in 10 minutes if there were not any video cameras”).




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         While Syrians themselves suffered the most from this policy, the Regime’s media

blackout had rippling effects around the world. The international system depends on news

reporting to make democratically informed decisions on how to respond to humanitarian

disasters. See Kaye Rep. ¶ 43. As this Court observed in Anderson v. Islamic Republic of Iran,

targeted attacks on journalists “inhibit the gathering and reporting of news” in warzones and

warrant punitive damages in order “to vindicate the interest of society at-large in the collection

and dissemination of complete and accurate information about world conflicts.” 90 F. Supp. 2d

107, 114 (D.D.C. 2000). That such social harms were not only the effect, but the intended

consequence of Marie’s killing, justifies a punitive damages award of the highest degree.

         Finally, the need for deterrence is clear. The Regime continues to engage in attacks on

civilians in general, and journalists in particular. See Kaye Rep. ¶¶ 27–28; see also Witherow

Decl. ¶¶ 20, 31.

         Courts in this Circuit have long imposed punitive damages to punish and deter politically

motivated assassinations. An elevated punitive damages award here would not only punish the

Assad Regime’s outrageous actions in murdering Marie Colvin, but also condemn its practice of

“achieving political victory through heinous acts of barbarism.” See Gates v. Syrian Arab

Republic, 580 F. Supp. 2d 53, 75 (D.D.C. 2008) (finding Syria liable for an extrajudicial killing

under the FSIA and awarding $300 million in punitive damages in the hope that “substantial

awards will deter” similar conduct), aff’d, 646 F.3d 1 (D.C. Cir. 2011).

   IV.      CONCLUSION

         Marie Colvin said that a war correspondent’s role was to go where “injustices [are]

happening,” even if it means “going to a place where people are being shot and they are shooting

at you.” Witherow Decl. ¶ 35; Witherow Ex. A-10. Marie believed that telling the story of war

through its victims’ eyes was the only way she could make the world “stand up, take notice, and


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do something to protect them.” C. Colvin Decl. ¶ 33. The trick, Marie said, “is having enough

faith in humanity to believe that someone will care.” Witherow Decl. ¶ 35; Witherow Ex. A-10.

The Assad Regime’s attack of February 22, 2012 cut short Marie’s lifelong work of “opening the

world’s eyes to hidden atrocities.” Witherow Decl. ¶ 36. This atrocity should not stay hidden.

       For all the reasons stated above, Plaintiffs ask the Court to find Defendant liable under

Section 1605A and award them damages and any other relief the Court deems proper. Should

the Court deem further proceedings necessary or appropriate, Plaintiffs stand ready to present

additional evidence or address any questions the Court may have through further submissions,

live testimony, or conference.




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                              Respectfully submitted,

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